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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

UNITED STATES OF AMERICA,           )
                                    )
            v.                      )                  Case No. 1:21-cr-245-AJT-1
                                    )
IGOR Y. DANCHENKO,                  )
                                    )
                  Defendant.        )
____________________________________)

                                              ORDER
         With respect to the jury trial in this case scheduled to begin on October 11, 2022, the

Court Orders as follows:

   I.       On Tuesday, October 11, 2022, the Court will convene at 9:00 a.m. The trial will
            begin with jury selection at 10:00 a.m. If the case requires more than one day,
            beginning on Wednesday, October 12, 2022, and through the remainder of the trial,
            the Court will begin trial at 9:30 a.m., although counsel should be present by 9:00
            a.m., unless otherwise informed by the Court.

            Subject to the exigencies of the case the Court will take a lunch recess from 1:00 p.m.
            to 2:00 p.m. and recess between 5:30 p.m. and 6:00 p.m. daily.

            Trial proceedings will take place in Courtroom 701. All participants will be expected
            to comply with all COVID-19 protocols. See E.D. Va. General Orders 2021-11 and
            2021-15.

   II.      Technology in Court

            A. Personal Electronic Devices. The Court only permits electronic devices that will
               be used to aid in the presentation of evidence at trial, such as laptop computers
               and other related equipment, and only with the Court’s prior authorization. Cell
               phones and other personal electronic devices are not permitted.

            B. Evidence Presentation Systems. In order to bring approved electronic devices
               for the presentation of evidence into the courthouse, Counsel must obtain
               authorization from the Court. If Counsel desires to use the Court’s evidence
               presentation system, it also must request use prior to trial. Counsel must submit
               the completed forms via CM/ECF no later than one (1) week prior to trial. Once
               the Court has approved the request, counsel will receive a Notice of Electronic
               Filing (NEF). Counsel is advised to bring the signed form to the courthouse on
               the dates requested and to present it to the court security officers (CSOs) at the
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          entry of the courthouse. The electronic authorization form and the evidence
          presentation form are available here:
          http://www.vaed.uscourts.gov/locations/documents/NEW_PERSONAL%20ELE
          CTRONICS%20DEVICE%20POLICY.pdf. Counsel should not request
          authorization to bring in cell phones or other personal electronic devices,
          which are prohibited.

       C. Orientation to Evidence Presentation Systems. Orientation prior to any use of
          the equipment is required. Once you have received approval to use the evidence
          presentation system, please email the Court Technology Administrator at
          courtroom_tech@vaed.uscourts.gov to schedule an orientation. Please include
          the anticipated date(s) of orientation on the electronic authorization form
          submitted to the court. Orientations are for learning how to use the courthouse’s
          evidence presentation system and testing the attorneys’ laptop computer
          connections. Practicing presentations and preparing witnesses is not allowed.

       D. Additional Information. Additional information regarding the Court’s evidence
          presentation system is available here:
          http://www.vaed.uscourts.gov/resources/Court%20Technology/evidence_presenta
          tion_systems.htm.

III.   Voir Dire. The Court will conduct the voir dire. Each party should submit proposed
       questions as set forth in the local rules. Additionally, the parties should provide
       electronic versions of the file in Microsoft Word format. You may e-mail the files to
       my law clerk (cailyn_reillyknapp@vaed.uscourts.gov) or submit them to Chambers on
       a CD or flash drive. Any additional questions should be submitted directly to
       Chambers.

IV.    Jury instructions shall be addressed in the following manner:

       A. The parties shall exchange proposed jury instructions at least seven (7) days
          before trial, and thereafter meet and confer on those instructions in order to reach
          an agreement on as many jury instructions as possible.

       B. Five (5) days before trial, the parties shall jointly submit to Chambers a set of
          agreed upon instructions. At the same time (5 days before trial), each party shall
          submit to the Court a set of proposed jury instructions as to which there has not
          been complete agreement (disputed instructions). The instructions submitted
          should be the full verbatim instructions to be read to the jury. Mere references to
          jury instruction numbers in form books are not sufficient. Finally, the parties shall
          jointly submit an index of all proposed jury instructions designating which
          instructions are agreed upon and which are not.

       C. For all submitted jury instructions, both agreed upon and disputed, one (hard) copy
          shall be submitted with citations and one without, as well as electronic versions of
          each in Microsoft Word format. You may e-mail the electronic files to my law


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               clerk (cailyn_reillyknapp@vaed.uscourts.gov) or submit them to Chambers on a
               CD or flash drive. For identification purposes as to disputed instructions, the
               government should letter their set of instructions and defendant should number their
               set of instructions.

           D. Two (2) days before trial, any party objecting to a jury instruction proposed by
              another party shall file a brief, no longer than a total of 15 pages, stating the
              objection(s) to any proposed instructions and any argument in support of the party’s
              own alternative instructions.

           E. The parties may submit supplemental proposed instructions during the trial, or
              withdraw those previously proposed, in order to reflect the evidence or the Court’s
              rulings. The Court will instruct the jury before closing arguments, and will provide
              copies of the final set of jury instructions to all parties and to the jury for its use
              during deliberations.

           F. If there are questions about this process, please contact my law clerk (Cailyn Reilly
              Knapp) in Chambers.

   V.      Objections During Trial. As a general rule, the Court will not conduct sidebar
           conferences on objections during witness examination. If counsel believe that
           argument or discussion on anticipated objections is necessary, counsel should inform
           the Court outside the presence of the jury and, to the extent practicable, such objections
           will be heard before the jury is seated at the beginning of each trial day or after the jury
           is excused at the end of a trial day.

   VI.     Verdict Form. After consultation among counsel, please present a proposed verdict
           form for the Court’s consideration at or before the close of the government’s case, as
           well as an electronic copy of the proposed verdict form in Microsoft Word format. If
           the parties cannot agree, each party should submit its own proposed verdict form in
           hard copy and electronic copy.

   VII.    Witness and Exhibit Lists. The government shall file with the Clerk’s Office five (5)
           days prior to trial all trial exhibits to be used in the government’s case-in-chief, an
           exhibit list and a witness list, with copies to Chambers. The Defendant is encouraged,
           but not required, to do the same, but in any event, each party shall have pre-marked for
           use at trial, all exhibits it intends to use with sufficient copies for opposing counsel and
           the Court.

   VIII.   If any party anticipates significant unresolved issues, other than those that are or will
           be the subject of motions, please alert the Court as soon as possible.

                                       Contact Information

Judicial Assistant             Kristina_Brown@vaed.uscourts.gov                (703) 299-2113



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Law Clerk                     Cailyn_ReillyKnapp@vaed.uscourts.gov          (703) 299-2202


       The Clerk is directed to forward copies of this Order to all counsel of record.




Alexandria, Virginia
January 12, 2022




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